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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA

UNITED STATES OF AMERICA,                         Civil No. 0:24-cv-02944 (KMM-JFD)

              Plaintiff,
       v.

EVERGREEN RECOVERY, INC.;                        MOTION TO CONTINUE THE
EVERGREEN     MENTAL   HEALTH                     HEARING ON PLAINTIFF’S
SERVICES INC.; ETHOS RECOVERY                    MOTION FOR PRELIMINARY
CLINIC INC.; SECOND CHANCES                     INJUNCTION AND MODIFYING
RECOVERY HOUSING INC.; SECOND                     THE BRIEFING SCHEDULE
CHANCES SOBER LIVING, INC.;
DAVID BACKUS; SHAWN GRYGO;
and
SHANTEL MAGADANZ,

              Defendants.


       Defendants Evergreen Recovery, Inc., Evergreen Mental Health Services Inc.,

Ethos Recovery Clinic Inc., Second Chances Recovery Housing Inc., Second Chances

Sober Living, Inc., and Shawn Grygo (collectively, the “Evergreen Defendants”), by and

through their attorneys, will move the Court for an Order continuing the hearing on

Plaintiff’s Motion for Preliminary Injunction, ECF No. 21, and modifying the briefing

schedule to extend the time for the Evergreen Defendants to file a substantive response.

This motion is based upon the memorandum of law and accompanying documents which

will be filed pursuant to Local Rule 7.1.
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Dated: August 6, 2024               s/ Manda M. Sertich
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                                    Inc., Evergreen Mental Health Services Inc.,
                                    Ethos Recovery Clinic Inc., Second Chances
                                    Recovery Housing Inc., Second Chances
                                    Sober Living, Inc., and Shawn Grygo




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